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 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,              )
11                                          )      2:04-cr-205-GEB
                           Plaintiff,       )
12                                          )
          v.                                )      ORDER
13                                          )
     THA BUN HENG, CHHOM MAO, and           )
14   CLEVIE EARL BUCKLEY, JR.,              )
                                            )
15                         Defendants.      )
                                            )
16
17             Having considered the government’s motion filed November 22,
18   2006, it is hereby ordered that Counts One, Two, Three, and Four of
19   the Third Superseding Indictment are dismissed.
20             IT IS SO ORDERED.
21   DATED: November 22, 2006
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23                                              GARLAND E. BURRELL, JR.
24                                              United States District Judge

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